             Case 2:19-cr-00327-GMN-VCF Document 228 Filed 11/23/22 Page 1 of 1




1                                         UNITED STATES DISTRICT COURT

2                                             DISTRICT OF NEVADA

3                                                      ***
      UNITED STATES OF AMERICA,
4
                             Plaintiff,
5                                                         2:19-CR-00327-JCM-VCF
      v.                                                  ORDER
6
      JACQUES LANIER,
7
                             Defendant.
8
              Before the Court is defendant’s motion to withdraw as counsel (ECF NO. 227).
9
              Accordingly,
10
              IT IS HEREBY ORDERED that an in-person hearing on defendant’s motion to withdraw as
11
     counsel (ECF NO. 227), is scheduled for 11:00 AM, December 2, 2022, in Courtroom 3D.
12
              The Clerk of Court is directed to STRIKE Lanier’s amended motion to dismiss counsel (ECF NO.
13
     226).
14
              DATED this 22nd day of November 2022.
15                                                              _________________________
                                                                CAM FERENBACH
16
                                                                UNITED STATES MAGISTRATE JUDGE
17

18

19

20

21

22

23

24

25
